 20-01010-jlg          Doc 22        Filed 07/17/20 Entered 07/17/20 12:40:52           Main Document
                                                   Pg 1 of 2




                             Tarter Krinsky & Drogin LLP
                             1350 Broadway
                             New York, NY 10018
                             P 212.216.8000
                             F 212.216.8001
                             www.tarterkrinsky.com

                                                                       Rocco A. Cavaliere, Partner
                                                                       Email: rcavaliere@tarterkrinsky.com
                                                                       Phone: (212) 216-1141

                                                                    July 17, 2020


BY ECF

Honorable James L. Garrity, Jr.
United States Bankruptcy Judge
United States Bankruptcy Court
Southern District of New York
One Bowling Green
New York, NY 10004

                   Re:       Dalia Genger v. Orly Genger, et al.,
                             Adv. Pro. No. 20-01010

                             In re Orly Genger
                             Chapter 7 Case No. 19-13895

Dear Judge Garrity:

       This firm is counsel to Deborah J. Piazza, in her capacity as successor chapter 7 trustee
(the “Trustee”) of the above-referenced Debtor’s estate.

       The Trustee joins in the letter submitted by various defendants in response to Plaintiff
Dalia Genger’s procedurally improper “cross-motion” for summary judgment that Dalia filed
two days ago and noticed for the upcoming July 21 hearing on the motions to dismiss filed by the
various defendants in the above-referenced adversary.

       The request for summary judgment is obviously improper under the Bankruptcy Rules.
The Trustee fully expects that Plaintiff will now try to argue that in light of the request for
summary judgment, the upcoming hearing on the Motion to Dismiss, which is ripe for
adjudication, should be adjourned. Such gamesmanship is simply not appropriate and the




{Client/086201/1/02141807.DOCX;1 }
 20-01010-jlg          Doc 22        Filed 07/17/20 Entered 07/17/20 12:40:52    Main Document
                                                   Pg 2 of 2
Honorable James L. Garrity
July 17, 2020
Page 2 of 2

Trustee respectfully requests that the Court deny any request for summary judgment and keep on
the schedule the upcoming hearing on the motions to dismiss.

         The Trustee looks forward to today’s 2:00 p.m. conference to address this issue.



                                                               Respectfully submitted,

                                                               /s/Rocco A. Cavaliere

                                                               Rocco A. Cavaliere




To: All Counsel of Record by Email and ECF




{Client/086201/1/02141807.DOCX;1 }
